Case 2:20-cv-00376-RSM-BAT Document 114 Filed 02/23/21 Page 1of1
SIMMER USTs USSTGT Coit

VARS BD ASD or oe Ni cto)

KY SBA ALE

2% c uid y ~~

 

 

Xow Ss ot Rowdee Ss io Voters. ee Oy bey Veectea tyke

Mp. PLO - car tae lo - Roe BRT

 

SSe7 Wu. Sa Eee MOT,
TSS “RESTO OED No PUANIEES

Misting) oF ORD eitipw) wey Las

Osx Bs nese sy Ee EN Peto? Bed LenS SEAL MRE GAL Sel
Soeic WET OR Whos Vapor ae ol af CERCA xe Sates oe pas AAO 2s

tv at Conegating ds Neg ee “OS, Ee Ge oii, goody Sn te Ceska

see webnonsed, when do Shee oon. Axis Spoke ropa

Soke. Aa. aoe een keg a SSS Amr, ro Sao 3 phage

Vai ges Oke on enn h 2

ae ai Ao ee Ass Sve moe ie iS

REQEE

 

1 sespec Sly SRS. Vee Cec is ‘ee a Oa

iste. Sand los, Phesees  veaeus Aas sap kiow Ss aod ote Oe

—
Qe ~ephs Loge Vseae ts seh ftin

 

=2 /deodvs Ke [pe [ 2A

OKOc. :
YO Dok SV
Shot eho yp WAS PERS Te ensues a \

 

 
